 Case 1:20-cr-00059-H-BU Document 56 Filed 11/06/20               Page 1 of 1 PageID 114



                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               ABILENE DIVISION

UNITED STATES OF AMERICA,
   Plaintiff,

                                                           NO. 1:20-CR-059-01-H

IRWIN MENA-ROMO (1),
   Defendant.


                ORDER ACCEPTING REPORT AND RECOMMENDATION
                   OF TIM UNITED STATES MAGISTRATE JI'DGE
                         CONCERNING PLEA OF GUILTY

       After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

Conceming Plea of Guilty of the United States Magistrate Judge, and no objections thereto

havirg been filed within fourteen (14) days of service in accordance with 28 U.S.C.

$ 636(bX1), the undersigned   District Judge is ofthe opinion that the Report and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty.

       Sentence will be imposed in accordance with the Court's scheduling order.

       SO ORDERED.
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       Dated November        ,2020.



                                            JAME        SI,EY    DRIX
                                                    D STATES DISTRICT JUDGE
